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                      ESTADO LIBRE ASOCIADO DE PUERTO RICO
                         TRIBUNAL DE PRIMERA INSTANCIA
                           SALA DE FAMILIA Y MENORES
                          REGIÓN JUDICIAL DE BAYAMON
                              Salón de Sesiones 3001

                                                                             #2

    AMARILIS GONZÁLEZ GARCÍA                        EXP. NUM. D D12006-4055
         DEMANDANTE

                vs

  JUAN C BALCELLS GALLARRETA                                 DIVORCIO (TC)
          DEMANDADO




      A la vista de urgente comparece la demandante asistida por la Leda.
María E. Medina Pérez. Comparece el demandado asistido por la Leda. Vera T.
Peñagaricano.
      Se rlace_constar que este caso tiene varias interacciones. La última vez
fue para discutir los alcances de la Resolución del Tribunal Apelativo. No se
ha emitido mediante una resolución la determinación de este Tribunal. En
síntesis   queda pendiente los siguientes asuntos: solicitud de rebaja de
pensión a imentaría, si procede imputación de ingreso sobre los bienes de la
demandante, cambio unilateral de la institución académica, alegación de
hechos del gasto del colegio y la solicitud de desacato en cuanto a la
aportación de la demandante para los gastos de educación de la menor.
      Indica la Leda. Peñagaricano que la orden señalando la vista de hoy
urgente va dirigida a establecer: la deuda que alega mamá tiene papá y la
merma de ingresos del demandado. En cuanto a la primera, este Tribunal
paralizó toda gestión en cuanto a cualquier determinación de cualquier
obligación previo agosto de 2011, por lo cual no puede ser atendida en el día
de hoy. Con esto no significa que el demandado se quiere enajenar de
cualquier obligación que pueda surgir posterior a la paralización del caso de
quiebra.
                                                         Continuación.
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      La Leda. Medina expresa que el padre no custodio está alegando que sus
ingresos han mermado. Pero se ha repasado, la resolución del Tribunal y nos
hemos-percatado que ei demandado 'se- le-impuso una pensión alimentaría de
$2,100.00. Se tomó en consideración su estilo de vida y el estilo de vida sigue
siendo el mismo, por lo tanto, no es a base de los ingresos que se tomó en
consideración para fijarse la pensión que está fijada.
      La demandante indica que el Tribunal de Quiebra nunca ha mandado
que se paralicen los procedimientos, al contrario, el Tribunal de Quiebra
quiere que los procedimientos de alimentos continúen. No determinar la
deuda pr ivia ni la que esta después de la quiebra, es totalmente irracional.
No entiendo como es que se dice que hay que paralizar los procedimientos
para determinar la deuda.
      El [Tribunal indica que en virtud del procedimiento en el Tribunal
Federal no hay impedimento legal algunG^arg^eyaluar cualquier'solicitud de
modificación. Lo que teníamos era la paralización por 180 días para no hacer
ninguna gestión de cobro.
      Ambas partes presentan varios argumentos para determinar la deuda
por ambas partes.
      La Leda. Peñagaricano indica que advino en conocimiento que la menor
gozaba de una beca ascendente a $2,752.00. La demandante informa que a
ninguno ae los menores le ofrecieron becas. El Tribunal instruye a las partes a
reunirse y continuar esta vista por la tarde.


SESIÓN DE LA TARDE:


      Se ] lama nuevamente el caso en horas de la tarde, comparece la
demandante asistida por la Leda. Maria Medina Pérez.            Comparece el
demandado asistido por la Leda. Vera T. Peñagaricano.


                                                            Continuación,
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      Las partes se acercan al estrado para discutir la tabla preparada por la
Leda. Béltrán.
      La demandante aclara que no procede considerar la partida de la
hipoteca porque-lo hizo para -redamar-su- partida en el caso-civil-.-- En la-
quiebra til demandado se está beneficiando por eso. Recibirá la porción de la
hipoteca en dos o tres ocasiones. Esto en adición a las penalidades que tiene
que pagar. Por lo cual, la porción que le toca de la hipoteca no puede
reclamarse en lo civil ni en la quiebra. En la quiebra no se considera el hogar
seguro.
      El Tribunal indica que el pago de la casa se imputa como parte de la
pensión ;' dimentaría. Se estableció la pensión regular y la suplementaria. La
pensión en este caso es de $4,838.00.
      Informa la Leda. Peñagaricano que entiende que el Tribunal se revocó
en cuanto a la determinación en la vista del 20 de octubre de 2011. Las partes
presentan varios argumentos para determinarla deuda.
      El Tribunal luego de hacer los cómputos índica que al 31 de agosto
de 20111.   el   demandado debió haber pagado $270.928.00. de eso ha
pagado kl45.882.00 y la deuda es de $125.046.00 por concepto de
pensión alimentaría.
        1
     La Leda. Peñagaricano indica que según las vistas de 19 de enero y 3 de
febrero, el demandado lo que debía a diciembre/2011 era $5,384.00. El día 19
de enero de 2012 se le hizo entrega a la demandante la cantidad de $5,384.00
y se informó al Tribunal mediante moción dando por cumplida la deuda que
había hasta entonces.
       La Leda. Medina expresa que la otra deuda al 7 de junio de 2012 es de
 $16,028.0,0.
       Las partes hacen sus argumentos y cómputos en cuanto a la deuda del
 segundo jeríodo, enero/2012 hasta el 23/julio/2012.


                                                       Continuación,
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                  El iemandado debió haber pagado $33,866.00.
                  La Leda. Peñagaricano indica que hay pagos adicionales, un pago de
$1,046.00 número 144 y el pago del Colegio de María Reina de $2,000.00
número 4,713, para un total de $3,046.00, que no se pueden probar en el día
de hoy^porno^tener la evidencia.--———                                 — — -• —
                  El Tribunal hace constar que añadiendo el pago de julio de
Sl.OOO.CIO. más el Colegio de $2.576.50. la deuda del 2012 es de
$20.971.50 al 23 de julio de 2012.
                  Además, indica la Leda. Peñagaricano que existen otros pagos que ha
hecho el demandado y que se discutieron con la Leda. Beltrán, como es el
celular del menor, la graduación de cuarto año de la menor, se le compro una
cama para el apartamento del Recinto de Mayagüez. Hay ciertos gastos que
se le var. a presentar al Tribunal. El demandado no estaba preparado para
dilucidar la deuda de enero a julio /2012.
                  El Tribunal concede el término de 10 días para que presente
objeción. es y 10 días para que la otra parte replique con relación a las
cuantías reclamadas como la deuda.
                  Con relación a la controversia de la Ley 100, a tenor con lo resuelto
con el nuandato del Tribunal Apelativo y el contenido de la página 19 y
16 de la resolución se declara NO HA LUGAR a la solicitud de revisión por
el fundamento de cambio en las circunstancias económicas por el nuevo
trabajo.
                  La parte demandante alegó que la menor va a estudiar en la
Universidad de Puerto Rico en el Recinto de Mayagüez, por lo que va a
incurrir en gastos escolares mayores. Se refiere a la Examinadora para
la revisión de pensión alimentaría por el fundamento de cambio de las
circunstancias económicas.
 •-' - • . ¿f¡f    •#&?**; &?.—-.-.


                  Con relación a una moción sobre el Desacato contra la parte
demandante, el Tribunal determina como cuestión de hecho y derecho
que no procede, porque voluntariamente el demandado pagó la deuda
directamente al Colegio.
                                                                continuación
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        Se señala la vista de desacato para el 10 de septiembre de 2012. a
las 2:00 pm.




         Certílíco haber enviado copia de esta minuta-rt^olución
                                                     -rt^        a los abogados de récord hoy, 27 de agosto de 2012
                I           ___            X7        //

 Libro de Minutis                                                             Alguacil:     Marisol Alicea Rivera

  Nombre Juez:        HON. tfNGEL M. CANDELAS RODRÍGUEZ                       Certifico:


  Operadora de ÍTR:   WILMARIE OJEDA RIOS
                                                                                                      KeEfefariaTaKsa'lal

                                                                              Vista:        23 DEJULIO DE2012
 Oat 838
 Minuta Civil                                                                 Transcrita:     3 DE AGOSTO DE 2012
